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                                                                                     DEC 1 4 2016
                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA                         CLERK, U.S. DISTRICT COURT
                                                                                      RICHMOND, VA
                                  Richmond Division


CAROLYN WITT,     et al.,    on behalf
of themselves and all others
similarly situated.

      Plaintiffs,

V.                                             Civil Action No.              3:15cv386


CORELOGIC SAFERENT,        LLC,
et al.,

      Defendants.


                                          ORDER


      Having considered PLAINTIFFS' MOTION TO OVERRULE OBJECTIONS AND

COMPEL DISCOVERY RESPONSES (ECF No. 117), the supporting, opposing

and reply memoranda, and the materials filed therewith, it is hereby

ORDERED as    follows:


       (1)   To   the    extent    that    Defendants      refuse       to    produce     any

document, or otherwise respond to any discovery request or request

for admission, because,           in their view,     they, and what they do, are

not governed by the Fair Credit Reporting Act                    C'FCRA") 15 U.S.C. §

1681(a)-(x),      the    refusal     is    unwarranted     and     the       objection      is

overruled    because      the     record    establishes         that    the     Defendants


regularly treat the information that is the subject of the requests

for   production    of    documents,       other    discovery,         and    request     for

admissions (''the requested information") as regulated by the FCRA;

the   so-called    Multistate       database      housed   on   the    AS400     mainframe
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controlled by Defendants has been acknowledged to be a FCRA-regulated

system; and the Defendants do not sell information to their customers

unless the customers agree to comply with the FCRA because Defendants

consider   the   information   that   they    sell   to   their   customers   was

FCRA-regulated;

      (2) To the extent that Defendants refuse to produce any document

on the ground that it is subject to a Protective Order in the case

of Taylor v. Corelogic SafeRent, LLC, No.            I:15cvl405   (E.D. Va.) or

in the case of Williams v. Corelogic v. Rental Property Solutions,

LLC, No. 8:6cv58-PX (D. Md.), or on the basis that production thereof

would be burdensome or irrelevant,           the objections       are overruled

because the requested information is relevant to the claims and

defenses   herein;   and    the   Court    finds     that   the   requests    are

proportional to the needs         of the     case taking      into account    the

significant issues in the case, the relative access to the relevant

information in perspective of the Protective Order, the custody and

control of the     information,    the    importance of the discovery in

resolving the issues in the case, and considering that there has been

no showing of burden or expense associated with the posed discovery

which,   in any event,     is outweighed by its likely benefit; and is

appropriately discoverable herein; and, indeed, there is shown no

significant burden in producing           in this    action    information and

documents already produced in the other actions.
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      However, because of the Protective Orders entered in the other

cases, the Plaintiffs must forthwith move the Court in those cases

to require production on the basis that this Court has found these

documents to be relevant, discoverable and useful in this action and

that the production herein will present no significant burden herein;

and, to that end, the Plaintiffs shall inform the Court in the Taylor

and Williams cases that this Court respectfully requests the release

of the requested documents from the reach of the Protective Order

therein or subject to the terms of the Protective Order;                           or,    of

course, the parties herein may agree that all documents designated

as   confidential      under    the   Protective      Orders     in   the    Taylor      and

Williams actions shall be produced subject herein to the Protective

Order in this     case;


      (3)     To the extent that the Defendants'               responses generally

direct ''plaintiffs to the documents that were previously produced

in matter of Henderson,         et al.      v.   Corelogic,   et al..       No.   3:12cv97

(E.D. Va.), those responses are categorically found to be inadequate

responses for the reason that this case is a separate, albeit to some

extent      related,   case    than   the    Henderson    case    and   all       document

responses herein must meet the requirements for adequate production

in this case as if the Henderson case simply did not exist.                        Because

each case stands on its own merits, and in considerable ways, because

the two cases actually do differ, all document responses served by

the defendants that proceed under the assumption that a response in
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this case can be satisfactorily presented by generally referencing

matters produced in the Henderson case are held to be inadequate,

and the Defendants shall file supplemental responses thereto; and

the subsequent responses shall be subject to the rulings in this

Order,   and production may not be objected to on the basis of any

objection that has been overruled by this Court;

      (4)   Because the record establishes that the meet and confer

process envisioned by the Local Rules and the orders of this Court

have been frustrated by the Defendants'        representatives,     largely

their in-house counsel, and because an inordinate period of time has

been required for in-house counsel to advise its trial counsel herein

of positions in respect of matters being negotiated in the meet and

confer process, it is hereby ORDERED that all further meet and confer

processes sessions shall be conducted in the facilities of the Court

so that all disputes can be considered immediately by the Court, and

it is further ORDERED that, if in-house counsel or other corporate

representatives wish to participate in any way in the meet and confer

processes hereafter, they shall attend those sessions in person, it

being the experience of this Court that no in-house counsel or

corporate representatives,       in the 25 years of service of the

presiding judge, has ever conducted itself in the dilatory fashion

established by the record in this case, and it is therefore imperative

that the Court (either the presiding judge or an assigned Magistrate

Judge) must supervise the processes of meet and confer if they are
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to have value; provided however that the findings in this paragraph

(4)   do not include t r i a l counsel listed of record herein;

       (5)   Because the so-called Multistate database does provide

relevant     information   important   to   the   issues   in   this   case,   and

because access to the Multistate databases            is   necessary for       the

Plaintiffs to test the output and the content of the Results Returned

database (production which has already been required), and because

the proprietary nature of the Multistate database can be protected

by the provisions of a Protective Order; and it further appearing,

and because     (and the Court so finding),        the Multistate database

contains public record information and, therefore, any objections

based on consumer privacy have not merit; and because the Plaintiffs

are entitled to examine the Multistate database and to conduct an

analysis as to the completeness of the Defendants' public record

information and the accuracy thereof, all of which is relevant to

issues in this case and important to the ability of the Plaintiffs

to prove their claims and to address the defenses herein,                      the

Multistate database shall be provided to counsel for Plaintiffs;

       (6)   To the extent that the Defendants object to the production

of any document on the ground that production will be confusing for

a jury, that objection is improper and is, in any event, premature

at this point;

       (7)   To the extent that any objections to produce any document

are made on the basis that the Plaintiffs' claims are barred by the
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statute of limitations, it is ORDERED that the objection is premature

and that the asserted objective is an improper basis for an objection

to any request for production of documents;

      (8)   To    the    extent    that    the   Defendants   are   withholding

documents on the grounds of privilege, and that no privilege log has

been served,     the privileges are waived; provided,          however,   to the

extent   that    any    request   for   production   covers   documents   in   the

Williams and Taylor actions,            and such documents have been held by

the presiding judge in either,             or both of those actions,       to be

privileged, the Defendants shall list the responsive documents in

detail and identify them as privileged pursuant to an order of the

presiding Court in those cases and shall provide to the counsel for

the Plaintiffs a copy of the court order that confers privilege and

shall correlate in their written responses the part of the court order

or opinion that is said to confer privilege upon the identified

documents   (on a document by document basis);

      (9)   The objections to Requests for Production of Documents

C'RFP") No. 12 to Saferent are overruled upon a finding that the

information sought by the request is reasonable and relevant to the

issue of willfulness and to the claim by the Plaintiffs herein under

§ 1681(e)(b); provided however, that, if there are no such documents

in existence, the Defendants must make an affirmative statement in

their supplemental response that there are no such documents in
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existence and why,        and that no such documents are being withheld

pursuant to any objection;

       (10)    The objection to the RFP No. 17 to Saferent is overruled

because the request is for information that is relevant to the issue

of willfulness.         If, however, Saferent has no (or, at relevant times,

had)   policies or procedures in place respecting its standards for

authorizing      the    sale     of   criminal    records,      civil    judgments,     or

bankruptcy information to a third party, then it must explicitly so

state in its supplemental response to the RFP;

       (11) The objection to the RFP No. 25 to Saferent and the RFP

No. 14 to NBD is overruled because marketing documents of the sort

therein       requested    are    relevant       and   reasonable       to    assist   the

Plaintiffs in proving the claims in this case; and to understand the

Defendants' positions about how they conduct their business and to

the issue of willfulness; and because at least one marketing document

has been identified in deposition testimony; and, if there are no

marketing materials for, or related to, employment consumer reports

other than the one mentioned in Ms. Goodman's deposition, then the

Defendants       must   affirmatively        so    state   in    their       supplemental

responses that there are no such documents, and why, and that no such

documents have been withheld pursuant to any objection;

       (12) The objections to RFP No. 30 to Saferent are overruled on

the ground that the documents are relevant and useful in this case

to the issue of willfulness; and because the objections, as respect

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to privilege, come too late there being no privilege log that has

been produced, except to the extent the rulings or privilege has been

made as to a specific document in the Taylor or Williams cases;

     (13)   The objections to RFP No.       50 and RFP No.    35 to NBD are

overruled because the Defendants have impermissibly sought to limit

the requests to seek only communications between the Defendants and

the NBD subscribers that received the Plaintiffs' reports, thereby

avoiding the scope of the request as it is articulated which seeks

production of any communications that the Defendants have had with

any of NBD's or Saferent's subscribers regarding §§ 1681(k)(a),

1681(b),    or   1681(e) (b)   and   communications   on   those   topics   are

relevant to the issue of willfulness and to the Defendants' apparent

position respecting the reports that they provide as being beyond

the scope of the FCRA.     And, as has been testified to in a deposition,

the CDIA manual,      and the communications respecting it,           must be

provided to the extent that the Defendants have sent any subscriber

a copy of that manual;

     (14) The objection to RFP No. 5 to Saferent is overruled and

the Defendants shall be required to provide full information free

from any equivocation or objection because deposition testimony

demonstrates that documentation of the sort requested is in existence

and is relevant to the claims and defenses in this case;

     (15) The objection to RFP No. 20 to Saferent is overruled to

the extent that there are documents of the kind that are called for
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beyond the six pages of documentation that have already been produced

because it appears from answers to depositions in this case that

documents of this            kind do exist and are relevant to the claims and


defenses.       If,       however,   there are no other documents of this kind

in existence,            the Defendants must so state in their supplemental

response to the RFP's, and why, and shall state that no such document

is being withheld pursuant to an objection;

       (16)    The objections to RFP No.                   31 to Saferent are overruled

because       the     information         sought      is    relevant         to    the       issue     of

willfulness and relevant to the claim made under §                                 1681(e)(b);

       (17) The          objection to      RFP No.         35   to    Saferent         is    overruled

because       the    deposition      testimony         being         sought       is   relevant        to

credibility          determinations,             to   provide          possible             basis     for

impeachment,          and    because       the     testifying          witnesses            have     been

identified as             people who      will    testify       in    this    case,          and their

testimony on same subjects in this case can be tested by what they

have   said     in       other   cases.      Accordingly,            the    objections          to    the

production          of     deposition      transcripts           are       overruled          and     the

Defendants shall produce them;

       (18) The objection to RFP No. 37 to Saferent is overruled and,

if Saferent did not obtain certification of a permissible purpose

to   provide        the    Plaintiffs'      personal        identification              (other       than

through the certifications obtained by NBD),                            the responses to the

request for production shall so state unequivocally;
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       (19)   The objection to RFP No.           48 to Saferent is overruled and

the defendants shall state that it is not withholding any documents

subject to any objection.         Otherwise, such a response is inadequate

and improper;

       (20)   The   objection   to    RFP   No.    49    to    Saferent     is    overruled

because the request is not confined,               as Defendants would have it,

to   the   documents    related      to   the    maintenance         of   the    Multistate


database.       Accordingly,      any     manuals       related      to   SCR     decisions

involving the FCRA must be produced,                and that includes,              without

limitation, the compliance manual discussed in the Watts and Goodman

depositions     about   CDIA information,               as    well   as   any     documents

respecting compliance with § 1681k(a)(2).                      If the Defendants have

no such documents, and do not keep those documents, then they must

so affirmatively state in their supplemental responses to the RFP's

and there will be no qualification that the response is subject to

any outstanding objections, all of which have been overruled;

       In ruling on the foregoing objections and the motion to compel,

the Court, in each instance, has considered the extent to which the

requested documents are relevant to a claim or defense in the case

(as claims or defenses are presented in the pleadings and briefs);

the importance of the issues at stake in this case (which presents

significant issues under the FCRA); whether the discovery requests

are proportional to the needs of the case (where proportionality has

been   adequately presented as              an    issue,       and   finding      that   the

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proportionality requirement is satisfied) ; the amount in controversy

(which is substantial if a class is certified); the parties' relative

access   to   relevant   information        (which   in    this   case   is   almost

exclusively in the hands of the Defendants); the parties' resources

to the extent presented in the record (finding that the Plaintiffs'

resources are quite limited and that the burden of compliance are

not great to the Defendants which are substantial entities,                     even

though they are not exceedingly wealthy);                 the   importance of the

discovery in resolving the issues (which is critical if the case is

to proceed); and the fact that the burden of having the Defendants

provide the discovery is not at all outweighed by the likely benefit

thereof (in fact, the likely benefit of production far outweighs the

burden to the extent that any burden has been shown).

     It is further ORDERED that compliance with this Order shall be

completed by the Defendants without any further objections,                      and

without any further delay,      by January 16, 2017,              and without any

further extensions.


     Further, it is ORDERED that the documents shall be produced in

such a way as to enable the Plaintiffs to understand explicitly which

documents are responsive to which RFP by specifically identifying

the documents to a particular RFP. This is necessary because of the

delay in providing discovery in this case already evidenced by the

Defendants, and because the procedure will enable the Plaintiffs more

efficiently to use the documents in the extended discovery period,

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ordered herein below.            The Defendants are advised that, unless this

requirement is satisfied fully,                   they run the risk of sanctions

including, without limitation, the striking of defenses in this case.

        It is further ORDERED that a new period of discovery shall be

available to the Plaintiffs, and only to the Plaintiffs, and shall

begin February 15, 2017 and shall continue until March 31, 2017.

Should       some    document       that   is    produced   necessitate     additional

discovery by the             Defendants,        the   Defendants may file    a motion

identifying such discovery as they need and why it is needed and

therein shall particularly relating that need to the document that

is thought to necessitate it.               Any such discovery will be completed

between February 15, 2017 to March 31,                   2017.

        It   is    so ORDERED.


                                                                 /s/        HV?
                                            Robert E. Payne
                                            Senior United States District Judge




Richmond,         Virginia
Date:    December 14,        2016




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